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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 1:17-cv-24047-UU

  MIAMI WORKERS CENTER, et al.,

        Plaintiffs,

  V.

  MIKE CARROLL, et al.,

        Defendants.

  ______________________________________/

             PLAINTIFFS’ RULE 26(a)(1) INITIAL DISCLOSURES

        Plaintiffs by and through undersigned counsel and pursuant to Rule 26(a)(1)

  of the Federal Rules of Civil Procedure, hereby submit their Initial Disclosures:

        Based on current available information, Plaintiffs and their counsel identify

  the following individuals who are likely to have discoverable knowledge regarding

  this matter, and relevant document to support Plaintiff’s claims in the Complaint:

                      Federal Rule of Civil Procedure 26(a)(1)(A)(1)

  The names, address and telephone numbers of each individual likely to have
  discoverable information:
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                                     Witnesses:

     1. Fulgencio Gallo
        60 NW 19th Ave #2
        Miami, FL. 33125
        Tel.: (305) 200-4938
        Knowledge​: Plaintiff with knowledge as to the allegations in the Complaint
        regarding DSNAP program and application.

     2. Richard Caldas
        8075 SW 107 Ave.
        Miami, FL 33173
        Tel.: (786) 394-0959
        Knowledge​: Plaintiff with knowledge as to the allegations in the Complaint
        regarding DSNAP program and application.

    3. Thomas Voracek
       1311 Miller Drive #F303
       Coral Gables, FL 33146
       Tel.: (240) 818-7119
       Knowledge​: Law student with Health Rights Clinic and with knowledge as
       to the allegations in the complaint.

    4. Reygine Cantave
       1311 Miller Drive #F303
       Coral Gables, FL 33146
       Tel.: (305) 284-5291
       Knowledge​: Staff member with Health Rights Clinic and with knowledge as
       to the allegations in the complaint.

    5. Jorge Jaile
       1311 Miller Drive #F303
       Coral Gables, FL 33146
       Tel.: (305) 439-8588
       Knowledge​: Law student with Health Rights Clinic and with knowledge as
       to the allegations in the complaint.

     6. Andrea Mercado
        Executive Director, New Florida Majority
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        10880 Biscayne Blvd.
        Miami, FL 33161
        Tel.: (305) 754-0118
        Knowledge​: Allegations in the Complaint related to New Florida Majority

     7. Carlos Naranjo
        Democracy Organizer, New Florida Majority
        10880 Biscayne Blvd.
        Miami, FL 33161
        Knowledge​: Allegations in the Complaint and to D-SNAP sites in Broward
        County and Palm Beach County.

     8. David Super
        Georgetown University Law Center
        600 New Jersey Avenue, N.W.
        Washington, DC 20001-2075
        Tel.: (202) 661-6656
        Knowledge​: Expert on Disaster SNAP and in-person interview requirement

     9. Charilus Federick
        1475 NE 111 Street
        Miami, FL 33161
        Tel.: (786) 413-6373
        Knowledge​: Allegations in the Complaint.

  10.   Sandra Benarcazere
        1835 NW 112 Street
        Miami, FL 33167
        Tel.: (786) 442-8860
        Knowledge​: Allegations in the Complaint

  11.   Luiz Galdamez
        512 SW 15th Ave.
        Miami, FL 33135
        (305) 905-8739
        Knowledge​: Allegations in the Complaint

  12.   Imelda Medina
        13828 SW 22nd Terrace
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           Miami, FL 33175
           (305) 496-4361
           Knowledge​: Allegations in the Complaint

  13.      Maryanne Rodriquez
           Catalyst Miami
           35801 SW 186th Ave.
           Homestead, FL 33034
           Tel.: (305) 804-2024
           Knowledge​: Allegations in the Complaint including problems related to the
           pre-registration process required for D-SNAP.

  14.      Shiana Barbosa
           8672 Deermoss Way West
           Jacksonville, FL 32217
           Tel: (904) 318-3705
           Knowledge​: Allegations in the Complaint including problems related to the
           pre-registration process required for D-SNAP.

  15.      Patricia Woliver
           1025 N. Unser Street,
           Mt. Dora, FL 32757
           Tel: (352) 321-0457
           Knowledge​: Allegations in the Complaint including problems related to the
           pre-registration process required for D-SNAP.

  16.      All witnesses on Defendants’ witness list

                     Federal Rule of Civil Procedure 26(a)(1)(A)(ii)

  Plaintiffs identify the following documents reasonably available to and in thier
  possession, custody and/or control that may be used to support Plaintiffs’
  claims in this matter.

                                        Documents

        1. Caldas Declaration
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        2. Cantave Declaration

        3. Gallo Declaration

        4. Voracek Declaration

        5. Naranjo Declaration

        6. Super Declaration

        7. Federick Declaration

        8. Galdamez Declaration

        9. Medina Declaration

        10. Identification Documents for:
              a. Richard Caldas,
              b. Charilus Federick
              c. Sandra Denacasere
              d. Taylor McGee

  11.      DCF D-SNAP Program Plan 2017-2018

  12.      Correspondence between DCF and USDA regarding DCF’s November 3,
           2017 Request for a Waiver to conduct D-SNAP interviews telephonically

  13.      Daily reports made to FNS by DCF for all 48 affected counties

  14.      Computer screenshots and other documents reflecting that the DCF D-SNAP
           preregistration site was inaccessible.

  15.      October 17, 2017 DCF Request to USDA

  16.      October 18, 2017 DCF Press Release

  17.      October 19, 2017 USDA Letter
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  18.   October 30, 2017 DCF Press Release

  19.   Plaintiffs’ October 25, 2017 letter with attachment

  20.   September 15, 2017 USDA letter

  21.   September 21, 2017 USDA letter

  22.   USDA Guidance for D-SNAP (July 2014)

  23.   Map showing bus to Hard Rock stadium

  24.   News articles, composite exhibit, concerning D-SNAP Program

  25.   Documents produced by DCF under subpoena at the November 20, 2017
        hearing, including the following:

        a. the number of applications made through an authorized representative
        b. The identity and number of staff assigned to monitor lines at each
        D-SNAP site to identify and accommodate individuals with disabilities
        c. instructions given to staff assigned to monitor lines at each D-SNAP site
        to identify and accommodate individuals with disabilities
        d. Number of applicants services through special needs/accommodations
        lines in each of the 48 affected counties
        e. individuals/heads of households in each of the 48 affected counties who
        preregistered for the D-SNAP Program and who did not complete the
        process

  26.   All exhibits on Defendants’ exhibits lists.



                                         Respectfully submitted,

                                         THE PLAINTIFFS


                                         /s/ Cindy Huddleston
                                         Cindy Huddleston
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 10th day of January, 2018 I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record on the attached Service List in the

  manner specified.


                                             /s/ Cindy Huddleston
                                             Cindy Huddleston, Esq.
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                                      Service List

                Miami Workers Center, et al. vs. Mike Carroll, et al.
                             Case No. 1:17-cv-24047-UU
               United States District Court, Southern District of Florida

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